  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 1 of 14




                                                        Minimum Mandatory □
                                                        Rule35/5K1.1 Bl
                                                       Appeal Waiver IS
                                                       Asset Forfeiture □

                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                )   CR 218-36

              V.



ZANABAR. MANET

                     SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL;


James R. Newton, Esq.

STATUTES CHARGED:


Count One - 21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute 100 grams or more of Heroin

Count Two -18 U.S.C. § 1952(a)(3)
Interstate Travel

COUNT PLEADING TO:


Count One - 21 U.S.C. § 841(a)(1) - Possession with Intent to Distribute Heroin
(lesser included offense)

MAXIMUM STATUTORY PENALTY;

Imprisonment for not more than 20 years;
Not more than a $1,000,000 fine, or both;
At least 3 years supervised release;
$100 special assessment.
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 2 of 14




ELEMENTS OF THE OFFENSE;


First:       The Defendant knowingly possessed a mixture or substance containing
a detectable amount of heroin, a Schedule I controlled substance;

Second:      The Defendant intended to distribute the mixture or substance
containing heroin.

TERMS OF PLEA AGREEMENT:


     • Defendant will plead guilty to the lesser included offense of Count One of
          the Indictment.


     • The government will not object to a recommendation by the U.S.
       Probation Office that Defendant receive an appropriate reduction in
       offense level for acceptance of responsibihty pursuant to Section 3E1.1 of
       the Sentencing Guidelines.

     • At sentencing, the government wiQ move to dismiss any other Counts of
       the Indictment that remain pending against Defendant.

     • Defendant agrees to provide full, complete, candid, and truthful
       cooperation to the government. The government, in its sole discretion, will
       decide whether that cooperation qualifies as "substantial assistance" that
       warrants the filing of a motion for downward departure or reduction in
          sentence.


     • Defendant waives her right to appeal on any ground, with only three
       exceptions: she may appeal her sentence if(1)that sentence exceeds the
       statutory maximum,(2)that sentence exceeds the advisory Guidelines
       range determined by this Court at sentencing, or (3) the government
       appeals. By signing the plea agreement. Defendant explicitly instructs her
       attorney not to file an appeal unless one of the three exceptions is met.

     • Defendant entirely waives her right to collaterally attack her conviction
       and sentence on any ground and by any method, including but not limited
       to a 28 U.S.C.§ 2255 motion. The only exception is that Defendant may
       collaterally attack her conviction and sentence based on a claim of
          ineffective assistance of counsel.

     • Defendant waives all rights to request information about the investigation
       and prosecution of her case under the Freedom ofInformation Act or the
       Privacy Act.
Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 3 of 14




     Defendant waives the protections of Rule 11(0 of the Federal Rules of
     Criminal Procedure and Rule 410 of the Federal Rules of Evidence. If she
     fails to plead guilty, or later withdraws her guilty plea, all statements
     made by her in connection with that plea, and any leads derived
     therefrom, shall be admissible for any and all purposes.




                                      Ill
     Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 4 of 14




                                                             Minimum Mandatory □
                                                             Rule35/5K1.1 B
                                                             Appeal Waiver El
                                                             Asset Forfeiture □

                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

 UNITED STATES OF AMERICA                    )   CR 218-36

                 V.



 ZANABAR. MANET

                                  PLEA AGREEMENT


         Defendant, represented by counsel, and the United States of America,

represented by Assistant United States Attorney Karl 1. Knoche, have reached a

plea agreement in this case. The terms and conditions of that agreement are as

follows.

1,       Guilty Plea


         Defendant agrees to enter a plea of guilty to the lesser included offense of

Count One of the Indictment which charges a violation of 21 U.S.C. § 841(a)(1).

2.       Elements and Factual Basis

         The elements necessary to prove the lesser included offense charged in Count

One are:


First:         The Defendant knowingly possessed a mixture or substance containing
heroin, a Schedule I controlled substance;

Second:        The Defendant intended to distribute the mixture or substance
containing heroin.
     Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 5 of 14




        Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts that satisfy each of the offense's required elements:

That on or about July 3, 2017, in Mclntosh County, within the Southern District of

Georgia, the defendant,ZANABA R. MANET,aided and abetted by another, did

knowingly and intentionally possess with intent to distribute a mixture or

substance containing a detectable amount of heroin, a Schedule 1 controlled

substance, all in violation of Title 21, United States Code, Section 841(a)(1) and

Title 18, United States Code, Section 2, and that the defendant's guilty plea

constitutes proof as to that Count.

3.      Possible Sentence


        Defendant's guilty plea will subject her to the following maximum possible

penalty: Imprisonment for not more than 20 years; Not more than a $1,000,000 fine,

or both; At least 8 years supervised release; $100 special assessment.

4.      Nn Promised Sentence


        No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate ofsentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.
     Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 6 of 14




5.      Court's Use of Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guidehne range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidehnes, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining her sentence. The Sentencing

Gmdelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts

underljdng the particular Count to which Defendant is pleading guilty.

6.     Acfreements Regardinsf Sentencing Guidelines

       a.      Afineptflfice of Responsibilitv

       The government will not object to a recommendation by the U.S. Probation

Ofhce that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. Ifthe U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) based on the defendant's timely notification of her intention to enter a

guilty plea.

        b.     Use ofInformation

        The government is free to provide fuU and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing
     Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 7 of 14




Guidelines range. Any incriminating information provided by the defendant during

her cooperation will not be used in determining the apphcable Guidelines range,

pursuant to U.S.S.G. § 1B1.8.

c.     PIsTnissal of Other Counts

       At sentencing, the government will move to dismiss any other Count(s) of the

Indictment that remain pending against Defendant.

7.     Restitution


       The amount of restitution ordered by the Court shall include restitution for

the full loss caused by Defendant's total criminal conduct. Restitution is not limited

to the specific counts to which Defendant is pleading guilty. Any payment schedule

imposed by the Court is without prejudice to the United States to take all actions

and remedies available to it to collect the full amount of the restitution. Any

restitution judgment is intended to and wOl survive Defendant, notwithstanding

the abatement of any underlying criminal conviction.

8.      Cooperation


        a.    Complete and Truthful Cooperation Required

        Defendant must provide full, complete, candid, and truthful cooperation in

the investigation and prosecution of the offenses charged in her Indictment and any

related offenses. Defendant shall fuUy and truthfuUy disclose her knowledge of

those offenses and shall fuUy and truthfully answer any question put to her by law

enforcement officers about those offenses.
     Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 8 of 14




       This agreement does not require Defendant to "make a case" against any

particular person. Her benefits under this agreement are conditioned only on her

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

       b.     Motion for Reduction in Sentence Based on Cooperation

       The government,in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or

Fed. R. Grim. P. 35 and thereby warrants the filing of a motion for downward

departure or reduction in Defendant's sentence. If such a motion is filed, the Court,

in its sole discretion, will decide whether, and to what extent. Defendant's sentence

should be reduced. The Court is not required to accept any recommendation by the

government that the Defendant's sentence be reduced.

9.     Waivers


       a.     Waiver of Appeal

       Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground. The only exceptions are that the Defendant may file a

direct appeal of her sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidehnes

range found to apply by the court at sentencing; or(3)the Government appeals the

sentence. Absent those exceptions. Defendant explicitly and irrevocably instructs

her attorney not to file an appeal.
   Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 9 of 14




      b.     Waiver of Collateral Attack

      Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method,including but not hmited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim ofineffective assistance of counsel.

      c.     FOIA and Privacy Act Waiver

      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under

the authority of the Freedom ofInformation Act, 5 U.S.C. § 552, or the Privacy Act

of 1974, 5 U.S.C.§ 552a, and all subsequent amendments thereto.

      d.     Fed. R. Crinn. p. nffl and Fed. R.Evid.410 Waiver

      Riile 11(f) of the Federal Rules of Criminal Procedure and Rule 410 ofthe

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by

a defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or her plea of guilty is later withdrawn, all of Defendant's

statements in connection with this plea, and any leads derived therefrom, shall be

admissible for any and aU purposes.

10.   Required Financial Disclosure

       Not later than 30 days after the entry of her guHty plea. Defendant shall

provide to the United States, under penalty of perjury, a financial disclosure form
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 10 of 14




listing all her assets and financial interests, whether held directly or indirectly,

solely or jointly, in her name or in the name of another. The United States is

authorized to run credit reports on Defendant and to share the contents of the

reports with the Court and U.S. Probation.

11.   Possible TinnniRation Effects

      Pleading guilty may have consequences with respect to immigration status if

Defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. Removal and other immigration consequences are

the subject of a separate proceeding. No one, including Defendant's attorney or the

district court, can predict to a certainty the effect of her conviction on her

immigration status. Defendant nevertheless agrees to plead guilty regardless of any

immigration consequences, even if the consequence is her removalfrom the United

States.


12.    Defendiant's Rights


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-

examine adverse witnesses, to be protected firom compelled self-incrimination, to

testify and present evidence, and to compel the attendance of witnesses.
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 11 of 14




13.   Satisfaction with Counsel

      Defendant has had the benefit oflegal counsel in negotiating this agreement.

Defendant believes that her attorney has represented her faithfully, skillfully, and

diligently, and she is completely satisfied with the legal advice given and the work

performed by her attorney.

14.   Breach of Plea Agreement

      If Defendant breaches the plea agreement, withdraws her giulty plea, or

attempts to withdraw her guilty plea, the government is released fi*om any

agreement herein regarding the calculation of the advisory Sentencing Guidelines

or the appropriate sentence. In addition, the government may (1) declare the plea

agreement nuU and void,(2) reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or(3)file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-of-

limitations or speedy trial defense to prosecutions reinstated or commenced under

this paragraph.
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 12 of 14




15.    Entire Agreement


       This agreement contains the entire agreement between the government and

Defendant.

                                     BOBBY L. CHRISTINE
                                     UNITED STATES ATTORNEY




Date                                 Brian T. Rafferty
                                     Chief, Criminal Division




DaS ^                                 larl 1. Knoche
                                     Assistant United States Attorney
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 13 of 14




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



 3
Date                                    Defendant



       I have fuUy explained to Defendant all of her rights, and I have carefully

reviewed every part of this agreement with him. I believe that she fully and

completely understands it, and that her decision to enter into this agreement is an

informed, intelligent, and voluntary one.



;?////^                                  (j
Date                                    Defendant's Attorney




                                            10
  Case 2:18-cr-00036-LGW-BWC Document 90 Filed 03/08/19 Page 14 of 14




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                     CR 218-36


               V.



ZANABA R. MANET


                                      ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change her plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

             This        day of.                ^     2019.




                                judg6,united states district court
                                feOBTHEEN DISTRICTBrtfEOEXJIA
